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lN 'I'HE uNITED STATES orsich C.OURT
lion '1`HE MIDDLE olsTRlC'l" or FLoRIDA 15 -3 P.'; §
FORT MYERS DIVISION

MICHELLE WETMORE. r §~`-:;»_- ' ~. l -'

Plaintiff`,
CASE NO.:

_\.'S_

MONEY MART, INC. mem z:LS~`ClL“ZH-Fra-qqll/v\

CI'IECK MART OF FI,.ORIDA, INC.,

Defend-ant.

QM_PL_A!M

Plaimifl`, MlCl»lELLE WETMORE. by and through her undersigned eounsel._ sues
the Dcfendant, i\/IONl-_`:Y MAR'I`, INC. D/BKA CI~IEC`I\’. MART OF FLORI[)A. INC.. and in
support tllel'eol`respectl`ully alleges the following
I. Plaimift` alleges violations of the 'l`elephonc Consumer Protection Act. 47 U.S.C. §22? er
.~.'eq. (“'I`CPA”) and the Florida Consumer Colleclions l’ractices Aet_. Cl'eapter 559, et .s'eq.
{`*'FCCPA’*).

lN'I`RODUCT`ION

2. 'I`he TCPA was enacted 10 prevent companies like MONEY MART. INC. D!B!A
CH`ECK MAR'I` Ol:` FLORIDA. INC. from invading American citizen’s privacy and prevent
abusive "`robo-ca|ls."
3. "‘The TCPA is designed 10 protect individual consumers from receiving inlrusive and
unwanted telephone calls."` Min'i.s‘ v. Ar:‘ow Fr'r.'. Serv.\'., LLC.', -US_--. 132 S.Ct.. 740. ?45_, 181,

L.I;`d. 2d 881 (2012).

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4. "Senator l"Iollings, thc 'I`CPA"s sponsor_. described these calls as ‘the *1256 scourg,c ot`
modern civilization. the)r wake us up in the morning; they interrupt our dinner at night; they
l`orce the sick and elderly out ol` bed; they bound us until we want to rip the telephone out ofthe
wall.“’ 13')‘ Cong. Rec. 30, 321 (1991). Scnator l-|ollings presumably intended lo give telephone
subscribers another option: telling the autodialers to simply stop calling.” O.ro)'io v, Store fi`arm
Bc:nk. F.S.B.. 746 l"`. 3d 1242 (11lh Cir1 2014).

5. According to the Federal Communications Comntission (FCC). “Unwanted calls and
tests are the number one complaint to the FCC. 'l`here are thousands ot` complaints to the FCC
ever)r month on both telemarl-;cting and robocalls. 'I`he FCC received more than 215,000 TCPA

complaints in 2014." httns:f/wvvw_t`cc.no\tfdocutnent/t`act-sheet-consumer-nrotection-oronosal

JURISI)ICTION AN]) VENUE

6. `I`his is an action l"or damages exceeding Se\-'ent_v-Five '|`housand Dollars ($75,000.00)
exclusive of interest and costs.

7. .Iurisdiction and venue for purposes o|` this action are appropriate and conferred by 23
U.S.C. § 1331_. Federal Question Jurisdiction_. as this action involves violations of the TCI"A
and!'or by F.S. § 47.[}11 and)'or by 28 U.S.C. § 1332, diversityjurisdiction.

8. Subject matter jurisdiction, federal question jurisdiction, l`or purposes of this action is
appropriate and conferred by 28 U,S.C. § 1331, which provides that the district courts shall have
original jurisdiction ot` all civil actions arising under the Constitution, laws, or treaties of the
United States: and this action involves violations ot`47 U.S.C. § 22?(b)(l)(A)(iii). See tiJi'm.r v.
.»'lrr'ow Fi.)-z. .S’crv.r.. M.C1 132 S.Ct. ?4{), 748 (2012) and Osori`o t-'_ .S`.'r:re Fm‘rn B'an)'r. F..S'.B., 746

F.3d 1242, 1249(11£11 C`it'. 2014)1

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9. Venue is proper in this District because the Plaint'il"|` resides in this l)istrict (Lee Co'unt_v),
the phone calls were received in this District, and the Del`endant transacts business in 1_.ee
Count_v. Florida.

FACTUAI`_. ALLEGATI()NS
10. l’laintit`t` is a natural pet'son_. and citizen ot` the State of Florida. residing in Lee Countvt
Florida_. and resides in this District.

l l. I’laintiff is a “consumer" as delined in Florida Statute 559.55(2).

,s

Plaintit`f is an ""alleged debtor."

13. i’laintii`t` is the "called party." See So;)r)ei‘ v. Enhonced Hecoverv (.`o_, LLC. 619 F.3d 637._
643 ('?lh Cir. 2012)_. reh'g denied (Mav 25, 2012).

14. Del`endant is a "‘creditor" as defined by Florida Statute §559.55(3). Det`endant extended
credit to Plaintit"t` from which a debt arose

15. 'l"|tc debt that is the subject matter ot` this complaint is a "'consumer debt"’ as defined by
Florida Statute §559.55( l ).

16. Del"endant is corporation with a principal place of business and/or ot`tice for transacting
its business located at 1436 Lancaster Avc., Suite 300, Berwyn, PA 19312.

1'?. Det`endant has a registered agent in Florida: NRAI Services lnc.._ 1200 South Pine lsland
Road. Plantation_. FL 33324.

13. 'I`hc conduct ol" Dcl`cndant which gives rise to the cause ot` action herein alleged occurred
in this District_. Lee County, Florida. by thc Defertdant`s placing of illegal calls to Lce Countv._
Florida.

19. Det`endant._ at all material timcs_. was attempting to collect on a pa_vda},-‘ advance loan

which was issued and serviced by Deliendant on or about May 2014.

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20. Defendant knowingly auditor willfully harassed and abused Plaintifl` on a constant basis
by calling Plaintil"t"`s cellular telephone number up to six (6) times a day from approximately
June._ 2014 through the filing ot` this complaint. with such frequency as can reasonany be
expected to harass_. all in an el`f`ort related lo the collection ol` the subject account

21. Upon inl"orn'iation and beliel", some or all of the calls the Defendant made to Plaintiff`s
cellular telephone number were made using an “automatic telephone dialing system” which has
the capacity to store or produce telephone numbers to be called, using a random or sequential
number generator (including but not limited to a predictive dialer) or an artificial or prerecorded
voice; and to dial such numbers as Specit`lcd by 47 U.S.C § 22?(a){l) (hereinafter "‘autodialer
calls"`). Plaintit`l" will testil`§ll that she heard a pause before being connected to Dct`endant’s
representative Plaintifl` will also testify that some_. il` not all ol" the voice-message recordings she
received on her cell phone were pre-recorded.

22. All calls to the Plaimit`t"s cell phone were made without express consent- PlaintiiT told
Defendant to stop calling as soon as the calls started in .lune. 2014.

23. Plaintif'l` is the subscriber, regular user and carrier of the cellular telephone number, (23'9)
***-?789. and was the called party and recipient ol"l)el"c-:ndant’s autodialer ca.lls.

24. The autodialer calls h'om Det'"cndant came l`rom thc telephone numbers including but not
limited to 366-433-1001_. 866-992-5626. and 801-933-451 1, and when those number is called, an
automated voice answers and identities itself as “Corporate O'l"licc ot` Monev M.art. The Check
Cashing Store, American l’ay'day Loans."`

25. AI"ter receiving numerous autodialer calls since .lune, 2014 to her cellular telephone

number from Defendant, Plaintil"l" spoke to a representative ot` Defendant on .luly 14_. 2015 and

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again requested the calls l`rom Det`endant Stop, informed the representative they had previously
requested the calls to stop. and told Det`endant"s representative to "`stop calling mc."
26. Due to the volume ot` calls received from Del"endant_. Plaintitl` was unable to catalogue
every single call, however below is a small sampling ol` said calls:

l) May 14, 2015 at 1:26 pm from 866-992-5626

2) May 15, 2015 at 1:26 prn from 866-992-5626

3) May 18, 2015 at 1:33 pm from 866-992-5626

4) May 19_. 2015 at 1158 pin from 86`6-992-5626

5) May 20, 2015 at 4:29 pm from 301-933-4511

6) May 21, 2015 at 2:07 pm from 866-992-5626

?) May 22, 2015 at4:05 pin t`rom 801~933-4511

8) May 26, 2015 at 4:05 pm from 801-933-4511

9) Ma_v 27. 2015 at 4:06 pm fron1801-933-4511

10) May 28_. 2015 at 1:33 pm from 866-992-5626

1 1) May 28, 2015 at 2124 pm from 366-992-5626

12) lvlay 29, 2015 at 2:18 pm from 866-992-5626

13).1une i_. 2015 at 12:54 pm l`rotn 866~992-5626

14).1une 3, 2015 at 9:39 am from 866-433-1001

15) June 4, 2015 at 10:00 am from 866»433-1001

16) June 8, 2015 at l 1110 am from 866-992-5626

l?}.lune 9_. 2015 at 11:26 am from 866-992»5626

18) june 10, 2015 at 1 1:13 am from 866-902-5626

19).1une11, 2015 at 9:57 am l`rom 866-433-1001
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20)Junc 12, 2015 at l 1:246 am from 866-992-5626

21).lune l'i". 2015 at 0:57 am from 866-433~1001

22).1une 18, 2015 al 10:04 arn from 866-433-1001

23) .lune 24_. 2015 at 10:04 am from 866-433-1001(see Exhibit A)

24) .lune 25. 2015 at 10:03 am from 866-433-1001 (see Exhibit A)

25) July l_. 2015 at 9112 am from 866»992~5626 (see Exhibit B)

26) .luly 2. 2015 at 1:00 pin from 866-433-1001 (see Exhibit A)

27) July 6_. 2015 at 12:59 pin 866-433-1001 (see Exhibit C)

28) .luly ?, 2015 at 12:46 pm from 866~433-1001 (See Exhibit C)

29) .lul_v 10_. 2015 at 1206 pin from 866-433-1001 (See Exhibit C]
22. T he autodialer calls t`ront Det`end-ant continued. at times_. six (6) times a day from .lune.
2014 through the filing of` this complaintl Det`endant has. or should be in possession and!or
control of ca11 logs. account notes. autodialer reports and/or other records that detail the exact
number ol" all autodialer calls made to Plaintit`f".
28. 'l`he Defendant has a corporate policy to use an automatic telephone dialing system or a
pre-recorded or artificial voice, and to make autodialer calls just as they did to Plaintit`l"’s cellular
telephone in this case._ with no way for the called party and recipient 01" the calls_. or the
Del`endant. to permit the retrieval ol`the incorrect number.
29. Despite actual knowledge 01` their wrongdoing the Del"endant continued the campaign ol`
autodialer calls, well-beyond June 2014, when Plaintil`f lirst advised Del"endant to stop calling
30. Det`endant’s corporate policy is structured as to continue to call individuals like the

Plaintil`t`, despite the individual_. like Plaintift`. advising I.`Jel`endant to stop callingl

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31. Del"endant’s corporate policy provided no means for the l’laintifl` to have her cellular
number removed from the call list, or otherwise permit the cessation of and)‘or suppression ol"
calls to Plaintifi`.

32. Del`endant has numerous other federal lawsuits pending against them alleging similar
violations as stated in this complaintl

33. Dcl`endant has numerous complaints against them across the country asserting that their
automatic telephone dialing system continues to call the wrong people or people who have
revoked consent to be called.

34. De_t`endant knowingly employed methods and!or has a corporate policy designed to harass
and abuse individuals and has set up their autodia|er in a manner which makes it virtually
impossible l"or the autodialer calls to stop.

35. Def'ertdant knowingly employed methods that did not permit the cessation ol` or
suppression of autoclia|er calls to Plaintif‘{"s cellular telephoneh

36. Due to Defelidaitt’s constant autodialel‘ calls and dematteis l"or payment l’laintiff has
suffered statutory and actual damages in the form ot`emotional distress_. frustration worry_. anger.
and!or loss o't` capacity to enjoy life.

COUNT l
(Violation of the TCPA)

3?. l)laintiff re-alleges and incorporates 1’arag1‘aphs one (l) through thirty-six (36) above as
i't`l"ully stated herein.
38. None of Del`endant`s autodialer calls placed to Plaintil`l" were l`or “emergency purposcs"'

as speciaeu in 4a u.s.C. § 227(13)(1){.»\}.

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39. Defendant violated the TCPA, with respect to all ol` its autodialer calls made to l’laintil`f"s
cellular telephone number alter Plaintifl` revoked consent to be called and without l’laintif`l`s
prior express consent as she never provided Del"endant with her telephone number or consent to
contact her.

40. 'l`he Del"endant willfully and/or knowingly violated the TCPA, especially for each of the
autodialer calls made to Plaintil`t"s cellular telephone after Plaintil"f` notified Def"endant in June_.
2014 when Plaintili` verbally withdrevt-'. revoked. and/or terminated any alleged consent
Det`endant believed it had to contact her.

41. Del`endant repeatedly placed non-emergency telephone calls to Plaintil`t"s cellular
telephone using an automatic telephone dialing system or prerecorded or artilicial voice without
Plaintif["s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(l)(A)(iii).

§_Q_U_l`i.'[_ll
(Violation of the FCCPA)

42. Plaintiff incorporates l’aragraphs one ( ll through l`orty-one (41).

43. At all times relevant to this action Del"endant is subject to and must abide by the law of
lilorida_. including lilorida Statute §559.?2.

44. l)el"endant has violated Florida Statute §559.'72(5) which states that no person shall
“disclose to a person other than debtor or her or his family information affecting the debtor’s
rcputation. whether or not l`or credit worthiness. with knowledge or reason to know that the other
person does not have a legitimate business need l`or the information or that the information is

l`alse.” Del`endant went into Plaintil`l"s place ol` employment Wendy’s on several occasions

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While in the presence of Plaintifl"`s manager and employer, Defendant disclosed the existence of
the debt Specifically_. Det`endant would loudly ask "`When are you going to pay your debt?" in
front of Plaintiff. her Manager_. and her co-workers.

45. Defendant has violated I`~`lorida Statutc §559.72(?) by willfully communicating with thc
debtor with such frequency as can reasonably be expected to harass thc debtor Def"endant called
Plaintifl`up to several times daily which is a frequency that can be reasonably expected to harass
P]aintil"l" will testify that at the start she received at times up to six phone calls per day.

46. Defendant’s actions have directly and proximately resulted in Plaintifl`s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintit`f respectfully demands a trial by jury on all issues so triable and
judgment against Defcndant. ileNEY i\'lART, INC. D)'BKA CHECK MAR'I` OF FLORlD./~\,
INC.._ for statutory damages_. actual damages_. treble damages, costs, interest, and any other such

relief the court may deem just and pro'per.

 

 

Octavio ‘ ‘1"av” Gomcz, Esquire
Morgan ' l\/lorgan, Tampa, P.A.
201 N. Frank|in Street. 7"1 Floor
'fampa. FL 33602

`l`ele: ('813) 223-5505

Fax: (313) 222-4725

Florida Bar #: 338620

Attorney for l’laintill`
'I`Gomeat/rnI"`or'fhel’eople.com

